       Case 4:05-cr-00117-PJH        Document 53      Filed 09/06/05    Page 1 of 2



 1   SUZANNE A. LUBAN
     Attorney At Law
 2   State Bar No. 120629
     3758 Grand Ave. #4
 3   Oakland, California 94610
     Telephone 510/832-3555
 4
     Attorney for Defendant
 5   RUBEN CAMPOS
 6
 7                          UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,         )              D.C. No. CR 05-00117-PHJ
                                       )              (San Francisco)
11                    Plaintiff,       )
                                       )              [PROPOSED] ORDER TO
12         vs.                         )              REVISE BRIEFING
                                       )              SCHEDULE FOR WIRETAP
13   DAVID DOM INGUEZ, ET AL.          )              MOTION AND FINDING
                                       )              EXCLUDABLE TIME
14                    Defendant.       )
     _________________________________ )              Judge: Hon. Phyllis J. Hamilton
15
16          For good cause shown as stated in the Stipulation to Revise the Briefing
17   Schedule, IT IS HEREBY ORDERED that:
18          (A) the briefing schedule for the defendants’ motion to suppress the results of
19   the wiretap and other substantive motions is revised as follows:
20          1. The defendants shall file the wiretap motion and other disposative motions
21   by W ednesday, October 12, 2005;
22          2. The government opposing brief shall be filed by Friday, October 28;
23          3. The defendants’ reply brief shall be filed by M onday November 7;
24          4. The motions hearing shall be held on November 16, 2005 at 2:30 p.m; and
25
26
27
28                                             1
       Case 4:05-cr-00117-PJH        Document 53       Filed 09/06/05      Page 2 of 2



 1          5. All the briefs shall be served by overnight delivery or facsimile, and all
 2   three defendants shall attend the hearing unless otherwise ordered.
 3          (B)    The Court hereby finds that a modification of the briefing schedule and
 4   hearing date is needed for defense counsel’s effective preparation of the pretrial
 5   motion(s), such that the ends of justice are served by granting the above continuance,
 6   and that the ends of justice outweigh the interest of the public and the defendant in a
 7   speedy trial. Therefore, the Court further finds that failure to grant the continuance
 8   would deny the defendants reasonable time necessary for effective preparation,
 9   taking into account to exercise of due diligence, pursuant to the Speedy Trial Act, 18
10   U.S.C. §3161(h)(8)(B)(iv). According, the Court finds excludable time from the
11   prior filing deadline, September 21, 2005, until October 12, 2005, pursuant to the
12   Speedy Trial Act, 18 U.S.C. §3161 (h)(8)(B)(iv).
13
                      6
14   DATED: September __, 2005
                                                       PHYLLIS J. HAMILTON
15                                                     U.S. District Court
16
17
18
19
20
21
22
23
24
25
26
27
28                                              2
